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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA
                              WESTERN DIVISION

 SPIRIT LAKE TRIBE, on its own behalf
 and on behalf of its members,
 DION JACKSON,
 KARA LONGIE,
 KIM TWINN,
 TERRY YELLOW FAT,
 LESLIE PELTIER,                                EMERGENCY MOTION FOR
 CLARK PELTIER,                                 TEMPORARY RESTRAINING
                                                ORDER
                        Plaintiffs,
                                                Civil No. 1:18-cv-00222-DLH-CSM
                      v.

 ALVIN JAEGER, in his official capacity
 as Secretary of State,

                        Defendant.



       Pursuant to Fed. R. Civ. P. 65(b), Plaintiffs respectfully move this Court for an

emergency temporary restraining order seeking tailored relief from the proof of residential

address requirement for voting for Native Americans who live on or near reservations who

are at risk of disenfranchisement in this election.

       Plaintiffs will provide the North Dakota Attorney General’s Office, Attorney for

Defendant, actual notice of this filing.



       Respectfully submitted,


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   * — Motions for admission pro hac vice forthcoming

   Dated: October 31, 2018____
